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                                 #:3778


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  5
      Attorney for Plaintiff Covves, LLC
  6

  7                        UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9

 10    COVVES, LLC,                           Case No. 2:18-CV-8518-RGK-AFM
 11                   Plaintiff,              DECLARATION OF THOMAS
                                              DIETRICH IN SUPPORT OF
 12          v.                               PLAINTIFF’S MOTIONS IN
                                              LIMINE
 13    DILLARD’S, INC. a
       Delaware Corporation;                  Hearing Date: January 14, 2020
 14    KOHL’S CORPORATION,                    Time: 9:00 a.m.
       a Wisconsin Corporation;               Courtroom: 850, 255 E. Temple St.,
 15    SAKS & COMPANY LLC,                    Los Angeles, CA 90012
       a Delaware Corporation;
 16    TARGET BRANDS, INC. a
       Minnesota Corporation;
 17    EXPRESS, INC., a
       Delaware Corporation;
 18    TILLY’S, INC. a Delaware
       Corporation;
 19    NORDSTROM, INC., a Washington
       Corporation;
 20    WEST MARINE, INC., a Delaware
       Corporation,
 21    and
       ZULILY, INC. a
 22    Delaware Corporation.
 23                      Defendants.
 24

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 28
                                                        DECLARATION OF THOMAS DIETRICH
                                                              Case No. 2:18-cv-8518-RGK-AFM
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  1         I, THOMAS DIETRICH, declare as follows:
  2         1.     I am an attorney with The McArthur Law Firm, P.C., counsel for
  3   Plaintiff Covves, LLC (“Covves”), and I am admitted into practice before the State
  4   of California and this Court. I make this Declaration in support of Plaintiff’s
  5   Motions in Limine (the “Motions”). The matters set forth herein are of my own
  6   personal knowledge, unless otherwise stated on information and belief, and if called
  7   upon to testify as to such matters, I could and would do so.
  8         2.     I met and conferred telephonically with Morgan Nickerson, counsel
  9   for Defendants, on the issues raised in the Motions on November 21, 2019. The
 10   parties were unable to reach agreement on these issues.
 11         3.     In April 2019, Covves served Defendants with (a) requests for
 12   production seeking all documents relating to costs Defendants incurred in relation
 13   to sales of accused products, and (b) interrogatories requesting a complete
 14   breakdown of such costs, the type of cost incurred, and an identification of all
 15   documents relating to such costs. Defendants responded to the requests for
 16   production by producing sales data spreadsheets that were made specifically for the
 17   litigation and either lacked cost information altogether or lacked any explanation of
 18   how claimed costs were calculated. Defendants uniformly objected to the
 19   interrogatory on cost information and directed Covves to the sales data
 20   spreadsheets.
 21         4.     Attached as Attachment 1 is a true and correct copy of an excerpt of
 22   the transcript of the Rule 30(b)(6) deposition of Target. The deponent was unable to
 23   answer any questions about how costs were calculated, what data was involved in
 24   the calculation, or who did those calculations. The deponent could only read the
 25   numbers on the sales data spreadsheet produced by Target.
 26         5.     Due in part to this failure to provide relevant documents and
 27   information, Covves moved to compel Defendants to produce actual business
 28   records concerning, and a detailed breakdown of, revenues and profits from sales of
                                                             DECLARATION OF THOMAS DIETRICH
                                                                   Case No. 2:18-cv-8518-RGK-AFM
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  1   accused products. The Magistrate Judge granted that motion. [Dkt. 102]
  2         6.     Defendants Kohl’s, Saks & Company, Tilly’s, West Marine, Express,
  3   Nordstrom, and Zulily have not disputed that total profits consist of revenue minus
  4   cost of goods sold. None of these Defendants sought deductions of any other
  5   expenses.
  6         7.     Following the Court’s order, Target and Dillard’s produced only the
  7   same made-for-litigation spreadsheets they had previously produced, updated to
  8   July 2019. They did not produce any actual business records to support the claimed
  9   costs and calculations thereof. To date, other than short spreadsheets showing
 10   claimed costs without any further explanation of the computations, Defendants have
 11   not produced a single actual business record used to support any of their
 12   computations of claimed deductible costs.
 13         8.     Defendant Target attempted to deduct all of the following from gross
 14   profits: taxes for each fiscal year; store, headquarter, and distribution fixed
 15   overhead costs; Target’s costs from incentives, bonuses, legal affairs, and
 16   something called “Shipt SG&A expenses” (which are not explained further). While
 17   the sales data spreadsheet Target has produced contains numbers for each of these
 18   claimed expenses, Target did not produce a single business record to support those
 19   computations or to explain how the expenses had a nexus to the accused products.
 20   Attached as Attachment 2 is a true and correct copy of Target’s certification
 21   regarding revenues containing its identification of claimed deductible expenses,
 22   without any further explanation.
 23         9.     Defendant Dillard’s attempted to deduct operating expenses,
 24   depreciation, rentals, and interest/debt expenses from gross profits. Dillard’s did not
 25   produce a single business record to support any of these deductions or its
 26   calculations thereof. Attached as Attachment 3 is a true and correct copy of
 27   Dillard’s certification regarding revenues containing its identified expenses, without
 28   any further explanation.
                                                               DECLARATION OF THOMAS DIETRICH
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  1         I declare under penalty of perjury that the foregoing is true and correct.
  2         Executed on November 27, 2019.
  3

  4                                          /s/ Thomas Dietrich
                                             Thomas Dietrich
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                                                             DECLARATION OF THOMAS DIETRICH
                                                                   Case No. 2:18-cv-8518-RGK-AFM
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 Attachment 1
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 1                  UNITED STATES DISTRICT COURT
 2                 CENTRAL DISTRICT OF CALIFORNIA
 3    _____________________________________________________
 4    COVVES, LLC,                   Case: 2:18-cv-8518-GJS
 5    Plaintiff,
 6    v.
 7    DILLARD'S, INC., a
      Delaware Corporation;
 8    KOHL'S CORPORATION,
      a Wisconsin Corporation;
 9    SAKS & COMPANY, LLC,
      a Delaware Corporation;
10    TARGET BRANDS, INC., a
      Minnesota Corporation;
11    EXPRESS, INC., a
      Delaware Corporation;
12    TILLY'S, INC., a Delaware
      Corporation;
13    NORDSTROM, INC., a Washington
      Corporation;
14    WEST MARINE, INC., a Delaware
      Corporation,
15    and
      ZULILY, INC., a
16    Delaware Corporation,
17    Defendants.
18    _____________________________________________________
19                     30(b)(6) DEPOSITION OF
20               TARGET BRANDS, INC./MEGAN HOFFMANN
21                Taken Wednesday, August 28, 2019
22                    Scheduled for 9:30 a.m.
23
24    REPORTED BY: DANA S. ANDERSON-LINNELL
25    PAGES 1 - 210

                                                                 Page 1

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     1 30(b)(6) DEPOSITION OF TARGET BRANDS, INC./MEGAN                  1   INDEX                                  PAGE
     2 HOFFMANN taken on Wednesday, August 28, 2019,                     2
     3 commencing at 9:26 a.m., at the law offices of Faegre             3   WITNESS: Megan Hoffmann
     4 Baker Daniels, 90 South Seventh Street, Suite 2200,               4   EXAMINATION BY:
     5 Minnesota, before Dana S. Anderson-Linnell, a Notary              5   Mr. Dietrich                           9
     6 Public of and for the State of Minnesota.                         6   Mr. Nickerson                           207
     7             ***************                                       7   Mr. Dietrich                           207
     8                                                                   8
     9              APPEARANCES                                          9   INSTRUCTIONS NOT TO ANSWER: 201
    10                                                                  10
    11 On Behalf of the Plaintiff:                                      11   PRODUCTION REQUESTS: (None.)
    12 Tom Dietrich, Esquire                                            12
    13 THE MCARTHUR LAW FIRM, PC                                        13   INDEX OF EXHIBITS:
    14 11400 W. Olympic Boulevard, Suite 200                            14
    15 Los Angeles, CA 90064                                            15   Exhibit 1 - Plaintiff Covves, LLC's Notice
    16 Phone: 323.639.4455                                              16   of Rule 30(b)(6) Deposition to Defendant
    17 Email: tom@smcarthurlaw.com                                      17   Target Brands, Inc.                  11
    18                                                                  18
    19 (Appearances continued on next page.)                            19   Exhibit 2 - CONFIDENTIAL Read It and Sweep
    20                                                                  20   Policy, Bates TRGT-005451 to 452        29
    21                                                                  21
    22                                                                  22   Exhibit 3 - Target Brands, Inc.'s Response
    23                                                                  23   to Plaintiff Covves, LLC's First Set of
    24                                                                  24   Interrogatories                      46
    25                                                                  25
                                                               Page 2                                                         Page 4

     1   APPEARANCES (continued):                              1             INDEX OF EXHIBITS (continued):                   PAGE
     2                                                         2
     3   On Behalf of Target Brands, Inc. and the Witness:     3             Exhibit 4 - Photocopy of picture of
     4   Morgan T. Nickerson, Esquire                          4             inflatables                       63
     5   K&L GATES, LLP                                        5
     6   State Street Financial Center                         6             Exhibit 5 - CONFIDENTIAL Email,
     7   One Lincoln Street                                    7             Bates TRGT-005453                          70
     8   Boston, MA 02111-2950                                 8
     9   Phone: 617.261.3100                                   9             Exhibit 6 - CONFIDENTIAL Email,
    10   Email: morgan.nickerson@klgates.com                  10             Bates TRGT-002806                          74
    11                                                        11
    12   ALSO PRESENT: Sonya Seidl, Target (partial day) 12                  Exhibit 7 - CONFIDENTIAL Email,
    13                                                        13             Bates TRGT-002802                          85
    14   NOTE: The original transcript will be filed with The 14
    15   McArthur Law Firm, pursuant to the applicable Rules 15              Exhibit 8 - CONFIDENTIAL Email chain,
    16   of Civil Procedure.                                  16             Bates TRGT-002933 to 934              87
    17                                                        17
    18                                                        18             Exhibit 9 - CONFIDENTIAL Email and
    19                                                        19             attachment, Bates TRGT-003541 to 548             91
    20                                                        20
    21                                                        21             Exhibit 10 - CONFIDENTIAL Email,
    22                                                        22             Bates TRGT-003090                          101
    23                                                        23
    24                                                        24
    25                                                        25
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     1   INDEX OF EXHIBITS (continued):               PAGE 1         INDEX OF EXHIBITS (continued):                    PAGE
     2                                                     2
     3   Exhibit 11 - CONFIDENTIAL Email chain,            3         Exhibit 25 - CONFIDENTIAL Email and
     4   Bates TRGT-003000 to 002                 106      4         attached License and Supply Agreement,
     5                                                     5         Bates TRGT-002902 to 917               187
     6   Exhibit 12 - CONFIDENTIAL Email chain,            6
     7   Bates TRGT-002926 to 927                 109      7         Exhibit 26 - CONFIDENTIAL Email and
     8                                                     8         attached Addendum to Partners Online,
     9   Exhibit 13 - CONFIDENTIAL Email chain,            9         Bates TRGT-003280 to 286              189
    10   Bates TRGT-004355 to 359                 113     10
    11                                                    11         Exhibit 27 - CONFIDENTIAL Email chain,
    12   Exhibit 14 - Photocopy of picture of             12         Bates TRGT-003958 to 960             195
    13   Sun Squad inflatable                 118         13
    14                                                    14         (Original exhibits attached to original transcript;
    15   Exhibit 15 - Photocopy of picture of             15         copies to counsel as requested.)
    16   Sun Squad inflatable                 119         16
    17                                                    17
    18   Exhibit 16 - CONFIDENTIAL Email and              18
    19   attachment, Bates TRGT-002807 to 810         120 19
    20                                                    20
    21   Exhibit 17 - Item Profitability                  21
    22   Description of Key Terms               127       22
    23                                                    23
    24                                                    24
    25                                                    25
                                                       Page 6                                                          Page 8

     1   INDEX OF EXHIBITS (continued):             PAGE         1              MEGAN HOFFMANN,
     2                                                           2     called as a witness, being previously sworn,
     3   Exhibit 18 - CONFIDENTIAL Email chain,                  3       was examined and testified as follows:
     4   Bates TRGT-003819 to 822             153                4                EXAMINATION
     5                                                           5     BY MR. DIETRICH:
     6   Exhibit 19 - Photocopy of picture of                    6     Q. Good morning. Could you please state your
     7   inflatable                       157                    7     full name for the record.
     8                                                           8     A. Megan Paige Hoffmann.
     9   Exhibit 20 - CONFIDENTIAL Email chain,                  9     Q. My name is Tom Dietrich. I'm an attorney
    10   Bates TRGT-003871 to 874             162               10     for Covves, LLC. This is the court reporter,
    11                                                          11     Dana, you've met her. Have you ever had your
    12   Exhibit 21 - CONFIDENTIAL Email chain,                 12     deposition taken before?
    13   Bates TRGT-005284 to 285             166               13     A. Yes.
    14                                                          14     Q. How many times?
    15   Exhibit 22 - CONFIDENTIAL - Attorney's Eyes            15     A. Twice.
    16   Only Email chain, Bates TRGT-002440 to 441  169        16     Q. How long ago?
    17                                                          17     A. Several years ago.
    18   Exhibit 23 - CONFIDENTIAL Email chain,                 18     Q. What kind of cases did that involve?
    19   Bates TRGT-005425                  174                 19     A. One was a sexual harassment case. And the
    20                                                          20     other was about setting -- trying to determine
    21   Exhibit 24 - Conditions of Contract    182             21     who the legal entity of a certain company was.
    22                                                          22     Q. Did both of those cases involve Target?
    23                                                          23     A. Not directly.
    24                                                          24     Q. I guess I'm just going to give you the
    25                                                          25     ground rules for a deposition again. It's been
                                                       Page 7                                                          Page 9

                                                                                                           3 (Pages 6 - 9)
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     1   Q. Do you know if the pricing for the floats         1   A. Yes.
     2   is going to change in 2020?                          2   Q. Was this document created specifically for
     3   A. I don't know.                                     3   this case?
     4   Q. Do you know if Target's advertising               4   A. I believe so.
     5   strategy as to the floats will change in 2020?       5   Q. Top row of the box on the first page
     6   A. No.                                               6   refers to the data source for sales numbers
     7   Q. It won't?                                         7   coming from the Vendor Profitability
     8   A. I don't know.                                     8   Measurement or VPM.
     9   Q. Alton left BigMouth at some point, is that        9      Do you see that?
    10   right?                                              10   A. Yes.
    11   A. Yes.                                             11   Q. What's VPM?
    12   Q. Do you know why he left?                         12   A. Vendor Profitability Measurement.
    13   A. I don't.                                         13   Q. And what is that?
    14   Q. Did he reach out to you after he left?           14   A. I don't know.
    15   A. Yes.                                             15   Q. Is that a Target system?
    16   Q. And why did he reach out to you?                 16   A. I would guess so.
    17   A. Just saying that he had left BigMouth,           17   Q. Do you know who obtained the information
    18   enjoyed working with me. That's all I recall.       18   from that system for this chart?
    19   Q. Did he mention why he left BigMouth?             19   A. Missy.
    20   A. No.                                              20   Q. Do you know that, or are you just
    21   Q. Who was your primary contact after he left       21   guessing?
    22   BigMouth?                                           22   A. I'm guessing.
    23   A. I have not really had one, but we've been        23   Q. And you don't know what system that is?
    24   working the most with Max.                          24   A. I don't.
    25   Q. What's Max's last name?                          25   Q. Do you have any knowledge about the data
                                                  Page 126                                                Page 128

     1   A. Wunderle.                                         1   that's in that system?
     2   Q. Have you had any communications with Max          2   A. Sorry. What?
     3   about this case?                                     3   Q. Do you have any knowledge about the data
     4   A. No.                                               4   that's kept in that system?
     5   Q. How about about Covves?                           5   A. No.
     6   A. No.                                               6   Q. Or how that data is entered?
     7           (Exhibit Number 17 marked for                7   A. No.
     8   identification.)                                     8   Q. Or how that data is obtained?
     9   BY MR. DIETRICH:                                     9   A. No.
    10   Q. Showing you Exhibit 17. Do you recognize         10   Q. Under -- couple rows down, Average Sales
    11   it?                                                 11   Price, it states Data Source, Calculation.
    12   A. (Views document.) Yes.                           12   What calculation?
    13   Q. What is this?                                    13   A. I don't know.
    14   A. The Item Profitability Description of Key        14   Q. Who did the calculation?
    15   Terms.                                              15   A. I don't know.
    16   Q. And what's the document as a whole?              16   Q. Do you know what that calculation's based
    17   A. It has financial information related to          17   on?
    18   unicorn floats from BigMouth.                       18   A. No.
    19   Q. Who created this document?                       19   Q. Have you done anything to investigate the
    20   A. Target.                                          20   information in this chart for this deposition?
    21   Q. Who at Target?                                   21   A. No.
    22   A. I believe Missy.                                 22           MR. NICKERSON: Objection to form on
    23   Q. Did you talk to Missy about this document?       23   that last one.
    24   A. No.                                              24   BY MR. DIETRICH:
    25   Q. Did you review this document?                    25   Q. Under the -- there's columns for fixed
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      1   overhead. And it states allocated as a percent        1   Q. Do you know why not?
      2   of sales from the data source.                        2   A. No.
      3       Do you see that?                                  3   Q. What does this chart on the second page
      4   A. Yes.                                               4   show?
      5   Q. Do you know how these overhead costs are           5   A. It shows store item profitability detail.
      6   allocated?                                            6   Q. And that's for the 2017 fiscal year?
      7   A. No.                                                7   A. Yes.
      8   Q. What percent of sales is allocated to              8   Q. And if I read this correctly, there were
      9   overhead costs?                                       9   $6,299 in sales of these unicorn floats in
     10   A. No. I do not know the percent.                    10   2017, is that right?
     11   Q. Do you know how these calculations were           11   A. Yes.
     12   done?                                                12   Q. Does that indicate that you hadn't sold
     13   A. No.                                               13   them throughout the entire year?
     14   Q. And do you know who did these calculations        14   A. Yes.
     15   for this chart?                                      15   Q. When was the date of first sale?
     16   A. No.                                               16   A. I don't know.
     17   Q. Under Income Taxes, the data source is            17   Q. You can't tell from this chart, can you?
     18   Calculation. I just have to ask again: Do you        18   A. No.
     19   know who did the calculation as to income            19   Q. Do you know when the date of first sale of
     20   taxes?                                               20   any of these products was?
     21           MR. NICKERSON: Objection to form.            21   A. No.
     22   It assumes that someone did it.                      22   Q. Do you know why Target referred to this
     23           You can answer.                              23   chart in its interrogatory responses as to how
     24           THE WITNESS: No.                             24   to find the date of first sale?
     25           MR. NICKERSON: My objection is --            25          MR. NICKERSON: Objection.
                                                    Page 130                                                  Page 132

      1   because you look confused, my objection is the        1           THE WITNESS: Does that mean --
      2   question assumes that a person did it, where it       2   BY MR. DIETRICH:
      3   could have been an Excel formula. That's the          3   Q. You can still answer.
      4   objection.                                            4           MR. NICKERSON: You can answer. I'm
      5          MR. DIETRICH: Understood.                      5   sorry. I'll let you know if you can't.
      6   BY MR. DIETRICH:                                      6   BY MR. DIETRICH:
      7   Q. It states there was a calculation of some          7   Q. Yeah, he'll say something else besides
      8   kind for the data source of income taxes,             8   just "objection to form" if you can't answer.
      9   right? It states there was a calculation done?        9       Because the interrogatory responses refer
     10   A. Yes.                                              10   to this chart as to information for the dates
     11   Q. And do you have any idea who or what did          11   of first sale, but I don't see that here, and
     12   that calculation?                                    12   you said it's not here, right?
     13   A. No.                                               13           MR. NICKERSON: Objection.
     14   Q. Do you have any idea what data was taken          14           THE WITNESS: No.
     15   into account in that calculation?                    15   BY MR. DIETRICH:
     16   A. No.                                               16   Q. How would I find out when Target first
     17   Q. Turning to the second page. I see a               17   sold the adult float?
     18   column -- rows for three floats, right?              18   A. I would pull sales by week.
     19   A. Yes.                                              19   Q. You can do that?
     20   Q. And that's the -- looks like what we've           20   A. I don't know because I don't use the VPM
     21   called the adult float, the little float and         21   data source as a buyer.
     22   the beverage boats, correct?                         22   Q. But you said that it's possible to pull
     23   A. Yes.                                              23   sales by week?
     24   Q. The pride float's not on here, is it?             24   A. Yes. I don't know if you can pull it
     25   A. No.                                               25   based on what our legal team uses, though.
                                                    Page 131                                                  Page 133

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      1   Q. But Target has that information?                  1   Q. In what division?
      2   A. Yes.                                              2   A. Sporting goods.
      3   Q. And I could do the same for each of the           3   Q. Does she work under you?
      4   floats on this chart?                                4   A. No.
      5   A. Do each of what?                                  5   Q. Do you see the numbers under Cost of Goods
      6   Q. To pull sales by week to find out when            6   Sold for the unicorn floats?
      7   they were first sold.                                7   A. Sorry?
      8   A. Yes.                                              8   Q. Do you see the numbers for cost of goods
      9   Q. Each of these floats is still being sold          9   sold for the unicorn floats on this page?
     10   today, right?                                       10   A. For the 2017 page?
     11   A. Yes.                                             11   Q. Yes.
     12   Q. And Target has never stopped selling them        12   A. Yes.
     13   at any point?                                       13   Q. Where do those numbers come from?
     14   A. No. And to clarify, we have stopped              14   A. Comes from calculate -- oh, VPM. Well,
     15   selling these.                                      15   cost of goods sold comes from calculation,
     16   Q. You have stopped selling these?                  16   sales dollars, gross margin.
     17   A. At some point, yes.                              17   Q. Do you know what that means?
     18   Q. When?                                            18   A. No.
     19   A. At the end of the summer.                        19   Q. Do you know how that calculation is done?
     20   Q. Which summer?                                    20   A. No.
     21   A. At the end of every summer we exit out of        21   Q. Do you know who calculated cost of goods
     22   summer merchandise.                                 22   sold on this chart?
     23   Q. So how --                                        23          MR. NICKERSON: Objection to form.
     24   A. And this is summer merchandise.                  24          THE WITNESS: No.
     25   Q. So let's take 2018. When would that exit         25   BY MR. DIETRICH:
                                                   Page 134                                                Page 136

      1   happen?                                              1   Q. I'll rephrase that. Do you know who or
      2   A. It would start to mark down in August.            2   what calculated cost of goods sold on this
      3   Q. And then they would be sold out of stores?        3   chart?
      4   A. Yes.                                              4   A. No.
      5   Q. And then it's the February of the next            5   Q. And do you personally have any knowledge
      6   year that they could come back into stores?          6   about where these cost of goods sold numbers
      7   A. Yes.                                              7   came from?
      8   Q. Okay. Does Target sell a BigMouth snow            8   A. No.
      9   float shaped like a unicorn?                         9   Q. And have you done any investigation on
     10   A. I don't know.                                    10   that issue in preparation for the deposition
     11   Q. Have you ever seen that product?                 11   today?
     12   A. I can't recall.                                  12           MR. NICKERSON: Objection to form.
     13   Q. And when I say "snow float," it's an             13   By "investigation," are you including the time
     14   inflatable unicorn-shaped thing used, I guess,      14   spent prepping for the 30(b)(6) --
     15   as a sled. Do you know what I'm talking about?      15           MR. DIETRICH: Well --
     16   A. Yes.                                             16           MR. NICKERSON: -- or independent
     17   Q. Do you know if Target sells that?                17   investigation? Because I think that's where
     18   A. I don't know.                                    18   we're crossing up.
     19   Q. Who would know the answer to that                19           MR. DIETRICH: I understand. And I
     20   question?                                           20   appreciate the clarification there.
     21   A. Alyssa Ramsey.                                   21   BY MR. DIETRICH:
     22   Q. R-a-m-s-e-y?                                     22   Q. So you said that you met with Morgan and
     23   A. R-a-m-s-e-y.                                     23   other individuals yesterday, is that right?
     24   Q. And what's her position?                         24   A. Yes.
     25   A. She's an associate buyer.                        25   Q. In preparation for the deposition?
                                                   Page 135                                                Page 137

                                                                                            35 (Pages 134 - 137)
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      1   A. Yes.                                              1           THE WITNESS: Yes.
      2   Q. How long was that meeting?                        2   BY MR. DIETRICH:
      3   A. Approximately -- several hours.                   3   Q. But the pride float is not on this list
      4   Approximately three or four.                         4   either, is it?
      5   Q. And outside of that meeting, did you do           5   A. It's not on here.
      6   any other investigation to prepare for the           6   Q. What about the unicorn lake float, is it
      7   deposition?                                          7   on here?
      8   A. No.                                               8   A. Can you be more specific? Which lake
      9   Q. So you didn't talk to anybody at Target           9   float?
     10   outside of that meeting yesterday?                  10   Q. Are there multiple unicorn lake floats?
     11   A. Correct.                                         11   A. Depends on how you define "lake float." I
     12   Q. You didn't review any other documents            12   mean, these are all lake floats.
     13   outside of what you reviewed in the meeting         13   Q. A larger one for multiple people.
     14   yesterday?                                          14   A. Sorry. What's the question?
     15   A. Correct.                                         15   Q. Target sells a larger unicorn lake float,
     16   Q. And just as far as the cost of goods sold        16   I believe it's called, for multiple people,
     17   numbers on this chart, you don't know, other        17   right?
     18   than what's listed on the first page, where         18   A. Yes.
     19   those numbers came from?                            19   Q. And that's not on this list?
     20   A. Correct.                                         20   A. It wasn't sold in 2018.
     21   Q. And how about, say, the gross margin             21   Q. But the pride float was sold in 2018?
     22   numbers on this chart, do you know where those      22   A. I don't know.
     23   came from?                                          23   Q. On the cost of goods sold -- I guess is
     24   A. According to the document, VPM.                  24   this the same as the chart we just looked at,
     25   Q. What's that?                                     25   that you don't know where the cost of goods
                                                   Page 138                                                 Page 140

      1   A. Vendor Profitability Measurement.                 1   sold numbers come from other than what's listed
      2   Q. Oh, VPM. Okay. We've talked about that.           2   on the document?
      3   You don't know what that is other than what's        3          MR. NICKERSON: Objection,
      4   listed here?                                         4   mischaracterizes testimony.
      5   A. Correct.                                          5   BY MR. DIETRICH:
      6   Q. Does this chart indicate that Target lost         6   Q. Do you know where the cost of goods sold
      7   money on unicorn floats in 2017?                     7   numbers came from?
      8   A. What chart?                                       8   A. It came from the calculation that's listed
      9   Q. The chart on page 2.                              9   on the document, calculation, sales dollars,
     10   A. Yes.                                             10   gross margin.
     11   Q. Do you recall that Target lost money on          11   Q. Right. And you said you don't know what
     12   unicorn floats in 2017?                             12   that means, right?
     13   A. No.                                              13   A. Correct.
     14   Q. Going to the next page. I see February           14   Q. And you don't know who or what did that
     15   and January, but it doesn't have a year there.      15   calculation?
     16   Do you know what year this chart on page 3 is       16   A. Correct.
     17   for?                                                17   Q. Do you know if these cost of goods sold
     18   A. It should be fiscal year 2018.                   18   numbers are the actual amounts that Target paid
     19   Q. And that's February 2018 to January 2019?        19   to BigMouth for the floats?
     20   A. Correct.                                         20          MR. NICKERSON: Objection to form.
     21   Q. So under this chart, Target sold 174,302         21          THE WITNESS: I do not.
     22   unicorn floats of the three listed here in          22   BY MR. DIETRICH:
     23   2018, is that right?                                23   Q. Do you see the -- it says "Store FOH" on
     24           MR. NICKERSON: Objection as to              24   the chart, but it says on the first page "Store
     25   form.                                               25   Fixed Overhead."
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      1          MR. NICKERSON: You lost me on that             1   Q. How about the other fixed overhead
      2   one. Can you tell me --                               2   allocated expenses, do you have any idea how
      3          MR. DIETRICH: Yeah, I'm looking at             3   those were calculated?
      4   the Store Fixed Overhead column on the chart on       4   A. I know based on what's stated on the first
      5   page 3. It's under Allocated Expenses.                5   sheet.
      6          MR. NICKERSON: I see Store FOH.                6   Q. These floats were all sold on Target.com
      7          MR. DIETRICH: Right. And the first             7   too, right?
      8   page it says that it means store fixed                8   A. Yes.
      9   overhead.                                             9   Q. Does this chart do anything to break out
     10          MR. NICKERSON: All right. Go                  10   which ones were sold in stores and which ones
     11   ahead.                                               11   were sold online?
     12   BY MR. DIETRICH:                                     12   A. Not that I see.
     13   Q. Do you see that column?                           13   Q. Do you know if online sales are included
     14   A. Yes.                                              14   in this chart?
     15   Q. And I see that the store fixed overhead           15   A. I don't know.
     16   for the adult float is more than double the          16   Q. Do you have any indication whether they
     17   fixed overhead for each of the other floats.         17   are or aren't based on the numbers here?
     18      Do you see that?                                  18   A. I don't. If it's pulled by vendor number,
     19   A. Yes.                                              19   it should pull all sales or all financial
     20   Q. Do you know why that is?                          20   metrics.
     21   A. No.                                               21   Q. And that would -- when you say "pull all
     22   Q. Do you know if there's a significant              22   sales," that would be online and store sales?
     23   difference in box size for, say, the adult           23   A. Yes.
     24   float versus the little float?                       24   Q. Target.com, if that's sold online, it's
     25   A. It's not a significant difference in my           25   not sold through retail stores, right?
                                                    Page 142                                                  Page 144

      1   opinion.                                              1   A. No, not necessarily.
      2   Q. So do you have any idea why the store              2   Q. Well, if I ordered a unicorn float on
      3   fixed overhead might be so much higher for the        3   Target.com, where would it come from?
      4   adult float than the little float?                    4   A. It depends.
      5   A. I do not, no.                                      5   Q. If I'm here in Minneapolis, where would it
      6   Q. And you see the sales units. There were            6   come from?
      7   about 60,000 little floats sold and 69,000            7   A. It depends.
      8   adult floats sold.                                    8   Q. Does it come from a warehouse?
      9       Do you see that?                                  9   A. It might.
     10   A. Yes.                                              10   Q. Where else might it come from?
     11   Q. So the numbers aren't dramatically                11   A. A store.
     12   different, but store fixed overhead is more          12   Q. Can you describe that process?
     13   than double for the adult float, right?              13   A. Yep. So we -- as a company we can fulfill
     14   A. Yes.                                              14   online orders from a store.
     15           MR. NICKERSON: Just to make a                15   Q. Or a warehouse?
     16   record, if it helps you, it says, "Allocated as      16   A. Yes.
     17   a percent of sales" on the first page. So it's       17   Q. Or any other location?
     18   just all based on sales numbers.                     18   A. A distribution center or a store.
     19           MR. DIETRICH: Right.                         19   Q. Distribution center, is that the right
     20   BY MR. DIETRICH:                                     20   name? I'm calling them a warehouse.
     21   Q. But you don't have any idea how that              21   A. Yes.
     22   allocation was made for store fixed overhead,        22   Q. A distribution center would have different
     23   is that right?                                       23   fixed overhead costs than a store, wouldn't it?
     24   A. Not other than what was stated on the             24   A. I don't know.
     25   sheet, "Allocated as a percent of sales."            25   Q. Do you have any idea what the fixed
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      1   overhead costs of a distribution center would          1   sales data from 2019.
      2   be?                                                    2   Q. And you said that Target is still selling
      3           MR. NICKERSON: Objection to form.              3   these floats, right?
      4   It's way outside the 30(b)(6).                         4           MR. NICKERSON: Objection,
      5           If you happen to have personal                 5   mischaracterizes prior testimony.
      6   information on the fixed cost of a distribution        6           You can answer.
      7   center, feel free to answer.                           7   BY MR. DIETRICH:
      8           MR. DIETRICH: Well, I guess I'm                8   Q. Is Target still selling each of these
      9   just going to respond back to that. I mean,            9   floats?
     10   this is something that's included in this             10   A. Yes.
     11   chart, which doesn't do anything to break out         11   Q. And that is to date?
     12   online sales.                                         12   A. Is what to date?
     13           MR. NICKERSON: It's not included in           13   Q. They're still selling them up to today?
     14   this chart. There's no -- the question was:           14   A. Yes.
     15   Do you know the overhead on a distribution            15   Q. So this chart doesn't contain any of the
     16   center? I mean, that is nowhere on this chart         16   data for sales after March 2019, right?
     17   at all.                                               17   A. It looks that way.
     18           MR. DIETRICH: Well, the fixed                 18   Q. The pride float is not on this chart
     19   overhead numbers of each store, of HQ, these          19   either, is it?
     20   are included here, and so that would be               20   A. No.
     21   something that goes directly to how those             21   Q. And that float was sold in 2019, wasn't
     22   numbers are calculated versus online sales and        22   it?
     23   store sales.                                          23   A. I don't know.
     24           MR. NICKERSON: I'll stand by the              24   Q. You don't know?
     25   objection that it's way outside the scope of          25   A. Correct. I don't know.
                                                     Page 146                                                 Page 148

      1   the 30(b)(6) notice.                                   1   Q. Have you looked into whether the pride
      2           If you happen to have personal                 2   float was sold in 2019?
      3   information, you can answer.                           3   A. No.
      4   BY MR. DIETRICH:                                       4   Q. Have you done any sort of research
      5   Q. I'm going to take it you don't know                 5   regarding the pride float?
      6   anything about the overhead costs of a                 6   A. No.
      7   distribution center?                                   7   Q. You pointed out in Exhibit 4 that the
      8           MR. NICKERSON: Objection to form.              8   pride float -- I mean, you recognized it in the
      9           THE WITNESS: I do not, no.                     9   exhibit, right?
     10   BY MR. DIETRICH:                                      10   A. Yes.
     11   Q. But you'll agree with me there's no way to         11   Q. So you knew it was a unicorn-shaped pool
     12   tell how many of these items on this chart were       12   float that came from BigMouth, right?
     13   sold online versus from a store?                      13   A. Yes.
     14   A. Correct.                                           14   Q. And you didn't do any kind of
     15   Q. If you would turn to the last page. This           15   investigation about that float for this
     16   is the chart for what year?                           16   deposition today?
     17   A. Fiscal year 2019.                                  17   A. Not outside of what Morgan and I discussed
     18   Q. And it just says February and March.               18   yesterday for prep.
     19       Do you see that?                                  19   Q. So you don't know when the pride float was
     20   A. I do.                                              20   sold by Target?
     21   Q. So is this only for two months of 2019?            21   A. Correct.
     22   A. I don't know. It looks that way.                   22           MR. NICKERSON: I'll object to that
     23   Q. So you don't know what specifically this           23   one because it assumes that it was sold.
     24   chart contains as far as date?                        24   BY MR. DIETRICH:
     25   A. It looks like it's February and March              25   Q. Do you know if Target sold the pride float
                                                     Page 147                                                 Page 149

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                                  #:3792



 Attachment 2
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                                  #:3793




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    6     Morgan Nickerson
          Jeffery S. Patterson
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         Attorneys for Defendants
   12
   13                             UNITED STATES DISTRICT COURT
   14                            CENTRAL DISTRICT OF CALIFORNIA
   15
         COVVES, LLC,                             Case No. 2:18-cv-08518-G JS
   16
                   Plaintiff,                     CERTIFICATIO N OF REVENUE
   17
              V.
   18
         DILLARD'S , INC. a Delaware
   19    Corp_Qration ·
         KOHL'S CORPORATION , a
   20    Wisconsin CorQ_oration.;
         SAKS & COMPANY LLC ., a
   21    Delaware CorJ?oration·
         TARGET BRANDS, INC. a Minnesota
   22    Cm-poration·
         EXPRESS INC., a Delaware
         Corporation;
   23    TILL Y'S, INC. a Delaware
         CorpQ_ration ·
   24    NORDSTROM, INC., a Washington
         Comoration·
   25    WEST MARINE, INC., a Delaware
         Coworation,
   26    and
         ZULIL Y, INC. a Delaware
   27    Corporat10n.
   28              Defendants.
                                            -1-
        CERTIFICATION OF REVENUE CASE NO. 2:18-CV-08518
        303892978 v1



 CONFIDENTIAL                                                            TRGT-006400
Case 2:18-cv-08518-RGK-AFM Document 139-1 Filed 11/27/19 Page 17 of 21 Page ID
                                  #:3794




    1   I, Erin Hagen, declare as follows:
    2
              1. I am employed at Target Brands, Inc. ("Target"). The below statements herein
    3
    4             are based on my personal knowledge.

    5         2. Exhibit A is a true and accurate copy of Target's sales data of the allegedly
    6
        infringing products on a monthly or quarterly basis containing revenue, costs, profits
    7
    8   as well as other relevant data.

    9         3. I verify that Exhibit A is created in the regular course of Taregt's business
   10
        reporting system.
   11
   12         4. I further confirm that Exhibit A is true, and accurate for the reported period.

   13         5. The profit amounts provided in Exhibit A are calculated by taking revenue and
   14
        subtracting out direct and allocated expenses and well as taxes.
   15
   16         6. I have provided a cover sheet that explains each of the costs taken out of

   17   revenue to arrive at profitability. In short, the costs taken out include the direct cost of
   18
        the product; store, headquarter, and distribution fixed overhead costs; Target's costs
   19
   20   from incentives, bonuses, legal affairs, and Shipt SG&A expenses; and taxes. The

   21   non-direct expenses are all allocated as a percent of sales. As indicated in the report,
   22
        a tax rate of 19.9% was used for FY2017 and a rate of 20.3% was used for FY2018-
   23
   24   19.
   25            I declare that the foregoing declaration is to the best of my knowledge true and
   26
        correct under the penalty of perjury and the laws of the United States of America.
   27
   28
                                            -2-
        CERTIFICATION OF REVENUE CASE NO. 2:18-CV-08518
        303892978 v1



 CONFIDENTIAL                                                                        TRGT-006401
Case 2:18-cv-08518-RGK-AFM Document 139-1 Filed 11/27/19 Page 18 of 21 Page ID
                                  #:3795




    1 Dated: 10/14/19                               By:   ~ /
    2                                               Erin Hagen

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        CERTIFICATION OF REVENUE CASE NO. 2:18-CV-08518
        303892978 v1



 CONFIDENTIAL                                                     TRGT-006402
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                                  #:3796



 Attachment 3
Case 2:18-cv-08518-RGK-AFM Document 139-1 Filed 11/27/19 Page 20 of 21 Page ID
                                  #:3797




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        Attorneys for Defe ndants
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   13                          UNITED STATES DISTRICT COURT
   14                         CENTRAL DISTRICT OF CALIFORNIA
   15
        COVVES, LLC,                            Case No. 2:18-cv-08518-GJS
   16
                Plaintiff,                      CERTIFICATION OF REVENUE
   17                                           BY DILLARD'S, INC.
           V.
   18
        DILLARD'S, INC. a Delaware
   19   Corp_2rati on·
        KOHL'S CORPORATION, a
   20   Wisconsin C9IJ2oration;
        SAKS & COMPANY LLC., a
   21   Delaware Corporation·
        TARGET BRANDS, fNC . a Minnesota
   22   Corporation·
        EXPRESS :iNc., a Delaware
        Corporation;
   23   TILLY'S, INC. a Delaware
        CorpQ_rati on·
   24   NORDSTROM, INC., a Washington
        Comorat1on·
   25   WEST MARINE, INC., a Delaware
        CorIJoration,
   26   and
        ZULILY, INC. a Delaware
   27   Corporation.
   28           Defendants.

                                           - 1-
        CERTIFICATION OF REVENUE BY DILLARD'S, INC.            CASE NO. 2:18-CV-08518



 CONFIDENTIAL                                                          DILL-000218
Case 2:18-cv-08518-RGK-AFM Document 139-1 Filed 11/27/19 Page 21 of 21 Page ID
                                  #:3798




    1 I, Anita Spence, declare as follows:
    2
           1. I am the Director of Vendor Relations at Dillard's, Inc. ("Dillard's"). The below
    3
    4   statements herein are based on my personal knowledge.

    5      2. Exhibit A is a true and accurate copy of Dillard's sales data of the allegedly
    6
        infringing products on a monthly or quarterly basis containing revenue, costs, profits
    7
    8   as well as other relevant data.

    9      3. I verify that Exhibit A is created in the regular course of Dillard's business
   10
        reporting system.
   11
   12      4. I further confirm that Exhibit A is true, and accurate for the reported period.

   13      5. The profit amounts provided in Exhibit A are calculated as follows:
   14
              Sales:                                        $19,917.26
   15
   16         Cost of Goods Sold:                           ($15,405.00)

   17         Operating Expenses, Depreciation,
   18
              Rentals and Interest/Debt Expenses:           ($6,377.51)
   19
   20         Net Profit:                                   ($1,865.25)

   21         I declare that the foregoing declaration is to the best of my knowledge true and
   22
        correct under the penalty of perjury and the laws of the United States of America.
   23
   24
        Dated: 10/ 14/2019
   25
   26                                                     Anita Spence
   27
   28

                                           -2-
        CERTIFICATION OF REVENUE BY DILLARD'S, INC.                        CASE NO. 2:18-CV-08518



 CONFIDENTIAL                                                                      DILL-000219
